                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

JOHN RUFFINO and MARTHA RUFFINO,                      )
Husband and Wife,                                     )
                                                      )
          Plaintiffs,                                 )       Civil Action No.: 3:17-cv-00725
                                                      )
v.                                                    )       Jury Demand
                                                      )
DR. CLARK ARCHER and HCA HEALTH                       )       Judge Campbell
SERVICES OF TENNESSEE, INC. d/b/a                     )       Magistrate Judge Newbern
STONECREST MEDICAL CENTER,                            )
                                                      )
          Defendants.                                 )

           PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION IN LIMINE #2

          In his Motion in Limine #2 (“Motion”), Defendant seeks an order excluding the standard

 of care and causation expert testimony of Rajat Dhar, M.D. For the reasons that follow,

 Defendant’s Motion should be denied.

     I.      Dr. Dhar is Statutorily Competent to Provide Expert Testimony in this Health
             Care Liability Case Per Tenn. Code Ann. § 29-26-115(b).
          Defendant first seeks to exclude Dr. Dhar’s standard of care testimony pursuant to Tenn.

 Code Ann. § 29-26-115(b) because Dr. Dhar is a neurologist, rather than an emergency room

 physician like Dr. Archer. Defendant claims that Dr. Dhar’s practice and specialty as a neurologist

 means his testimony not “relevant to the issues in the case…” Tenn. Code Ann. § 29-26-115(b).

 This argument has no merit.

          Plaintiff has disclosed Dr. Dhar as an expert on both standard of care and causation.

 Defendant’s objections to Dr. Dhar’s statutory competence are confined to the standard of care

 issue. There is no dispute that Dr. Dhar is statutorily competent to opine on the causation issue at

 trial.



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           With respect to the statutory competency issue raised by the Defendant, Tenn. Code Ann.

§ 29-26-115(b) only requires that Dr. Dhar’s “profession or specialty … make [his] expert

testimony relevant to the issues in the case…”1 Tennessee courts “have recognized on a number

of occasions that section 29-26-115 ‘contains no requirement that the witness practice the same

specialty as the defendant.’” Shipley v. Williams, 350 S.W.3d 527, 556 (Tenn. 2011) (quoting

Searle v. Bryant, 713 S.W.2d 62, 65 (Tenn. 1986)).

           Regarding the standard of care issue, Tenn. Code Ann. § 29-26-115(b) permits a medical

expert to testify so long as that expert is familiar with the standard of care applicable to the

defendant through his/her practice and experience. The threshold to demonstrate such familiarity

is not particularly high. The seminal Tennessee Supreme Court case on this issue suggests that as

long as an expert testifies that he/she is familiar with the applicable standard of care through his/her

practice and experience, then he/she may testify to that issue:

           The statute contains no requirement that the witness practice the same specialty as
           the defendant. The issue at trial was whether the defendant's performance in
           attempting to prevent the surgical wound infection and in treating it after it
           developed was negligent. Dr. Stratton stated that he was familiar with the applicable
           standards of surgeons in the prevention and treatment of surgical wound infections,
           and his testimony supports that statement. His expert testimony was, therefore,
           relevant to the issues in the case. For that reason, he was competent to testify as to
           those standards, even though he was not himself a surgeon.

Searle, 713 S.W.2d at 65 (emphasis added).

           Defendant cites Mitchell v. Jackson Clinic as providing the limit to this principle. In

Mitchell, the plaintiff attempted to present an emergency room physician expert (a generalist) to

testify to the standard of care applicable to a pediatric specialist.2 By that expert’s own admission,

he had not been involved in the presentation or treatment of children with jaundice – the issue in



1
    Emphasis added.
2
    Here, by contrast, Dr. Dhar is a specialist and the Defendant, Dr. Archer, is a generalist.

                                                              2

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that case – for multiple years. Affirming the trial court’s exclusion of that expert, the court

explained: “The problem with his qualification to testify in this case is that, by his own admission,

he has not practiced in this area in the year preceding the alleged negligent acts at issue in this

case.” 2013 Tenn. App. LEXIS 240, *26 (Tenn. Ct. App. Apr. 9, 2013) (emphasis added).

           Dr. Dhar is clearly statutorily competent to testify on both the standard of care and

causation issues. Dr. Dhar is a board-certified, fellowship-trained neurologist.3 Dr. Dhar was

licensed to practice medicine, and practiced his specialty of neurology, in Missouri during the

twelve (12) month period immediately prior to February 17, 2016 (the date of the care in question).

Dr. Dhar’s practice and experience during this time included assessing and treating stroke patients,

including patients who had an acute stroke with an onset within 6 hours of his first patient contact.4

           Dr. Dhar testified that he was familiar the standard of care applicable to Dr. Archer in

February 2016 as that standard relates to the issues in this case and he explained the basis for his

familiarity with that standard of care as follows:

           Q:       So you feel you're qualified to offer opinions regarding the standard of care that
                    applies to an ER physician?
           A:       As it relates to obtaining emergent imaging and communicating with other
                    neurologists, for example, I'm very qualified to know what I would expect an ER
                    physician to communicate to a neurologist about the time of onset and to
                    communicate that we need to get an urgent imaging (ph). Those two things I do
                    think I'm very qualified to comment on.
           Q:       And why do you think you're qualified to offer opinions regarding the standard of
                    care applicable to a different specialty?
           A:       Mainly because, as I said, that is the area where our specialties intersect. I work
                    with a lot of ER physicians. I know what the expectations are, and stroke is
                    managed between the two specialties, and it's very critical that both specialties
                    fulfill their roles, and so I'm aware of their role just as they would be aware of the
                    neurologist's role.
           Q:       Even though you haven't consulted with an ER physician on an active case in the
                    ER, by your own testimony, for over 10 years; correct?
           A:       But I've been involved in -- correct. I've been involved in hundreds of cases -- when
                    the patients get tPA, they come to the ICU for monitoring, and so that continuum

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    Dr. Dhar’s CV is attached hereto as Exhibit 1.
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    Dr. Dhar’s Rule 26 Report is attached as Exhibit 2.

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                    of care is very well known to me because I see hundreds of patients who have that
                    done appropriately -- rapid imaging, good communication of time of onset -- and
                    get tPA.5

           In contrast to the material facts in Mitchell, Dr. Dhar has been involved in been involved

in “hundreds of cases” where stroke patients presented, received tPA and imaging, and then came

to the ICU for monitoring. Dr. Dhar was admittedly not the ER physician in those cases, but he

does not need to be, because he is nonetheless familiar with the standard of care applicable to the

emergency physician in this context due to his involvement in the continuum of care and because

the care issues in this case involve an “area where [emergency medicine and neurology] specialties

intersect.”

           This case is factually analogous to Shipley, where the Tennessee Supreme Court

specifically recognized that a physician expert was familiar the standard of care of a different

specialty, including because that standard of care issue involved the continuum of care where the

specialties of the expert and the defendant intersected. See Shipley, 350 S.W.3d at 556-557 (finding

that an emergency room physician expert could testify regarding the standard of care required of

a surgeon, where the standard of care issue involved the communication and apportionment of

responsibility between a surgeon and an emergency room physician).

           The Defendant’s arguments that Dr. Dhar is not an ER physician, not board-certified in

emergency medicine, and that Dr. Dhar works in an ICU rather than an ER, all go to the credibility

and weight of his opinions. None of these attacks on Dr. Dhar’s qualifications make his opinions

inadmissible. See Harmon v. Hickman Cmty. Healthcare Servs., 2018 Tenn. App. LEXIS 374, *24

(Tenn. Ct. App. Jun. 29, 2018) (“once a determination is made that an expert witness meets the

minimum statutory requirements, i.e., practice in a specialty that makes the witnesses testimony



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    Deposition of Dr. Dhar, p. 211:21-212:25, a complete copy of which is attached as Exhibit 3.

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relevant, "any questions the trial court may have about the extent of the witness's knowledge, skill,

experience, training, or education pertain only to the weight of the testimony, not to its

admissibility.”).

   II.      Dr. Dhar’s Testimony is Admissible Per Fed. R. Evid. 702.
         Defendant next seeks to exclude Dr. Dhar’s testimony pursuant to Fed. R. Evid. 702 and

Daubert because – according to the Defendant – Dr. Dhar’s testimony is “too unreliable to permit

it to be placed before the jury.” This argument also lacks merit.

         Experts “are permitted wide latitude in their opinions…so long as the expert’s opinion has

a reliable basis in the knowledge and experience in the discipline.” Jahn v. Equine Servs., PSC,

233 F.3d 382, 388 (6th Cir. 2000). When determining the admissibility of expert testimony, trial

courts look only to the methodology of the proposed expert, rather than the validity of the ultimate

conclusions. Id. (“The focus, of course, must be solely on principles and methodology, not on the

conclusions that they generate.”).

         “As a general matter, ‘physicians and other medical professionals routinely testify as

experts since their specialized knowledge generally helps the jury resolve medical issues.’” Jahn,

233 F.3d at 389. Daubert exclusion is “rarely justified in cases involving medical experts” because

medical experts form their conclusions by applying their education, training, and experience to

their review of case materials, such as medical records. Dickenson v. Cardiac & Thoracic Surgery

of E. Tenn, P.C., 388 F.3d 976, 982 (6th Cir. 2004). This methodology is sound and is not the type

of “junk science” methodology targeted by Daubert. See id. (“Daubert's role of ‘ensuring that the

courtroom door remains closed to junk science,’ is not served by excluding testimony…that is

supported by extensive relevant experience.”).




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           The Defendant argues that Dr. Dhar’s testimony is “unreliable” and should be excluded

per Daubert and Rule 702 for the following reasons:

               1. Dr. Dhar did not refer to any published guidelines in creating opinions.
               2. Dr. Dhar did not perform any research (of literature) in connection with his
                  review of this case.
               3. Dr. Dhar did not base his opinions on published articles.
               4. Dr. Dhar did not look at the 2015 American Heart Association updates.
               5. Dr. Dhar did not “vet” his opinions with other physicians.
           In Dickenson, the Sixth Circuit directly held that that Defendant’s Arguments #1 through

#4 are not grounds to exclude a medical expert. The court expressly instructed that a medical

expert need not “demonstrate a familiarity with accepted medical literature or published standards

in [an area] of specialization in order for his testimony to be reliable in the sense contemplated by

Federal Rule of Evidence 702.” 388 F.3d at 980. No such requirement can be imposed because

“an expert may be qualified on the basis of [his] experience.” Id.; see Gase v. Marriott, 558 F.3d

419, 427-428 (6th Cir. 2009) (“Dickenson stands for the proposition that a medical doctor is

generally competent to testify regarding matters within his or her own professional experience.”).

           Since an expert may rely on his/her own education, training and experience – and need not

consult or research literature to provide admissible opinions in a case like this – it also follows that

an expert also need not somehow “vet” his opinions with other physicians before they can be

presented at trial.

           Dr. Dhar’s standard of care and causation testimony is based on his education, experience

and training as a neurologist, and his practice treating patients like Mr. Ruffino. Dr. Dhar’s

opinions are based on applying his education, training and experience to his review of the medical

records and case materials. 6




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    This is the same methodology the Defendant’s causation experts are using.

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           Defendant’s citation to Gase v. Marriott for the principle that “[w]hen…the doctor strays

from such professional knowledge, his or her testimony becomes less reliable, and more likely to

be excluded under Rule 702” is not applicable to Dr. Dhar’s testimony in this case. 558 F.3d 419

at 428. In Gase, the plaintiff attempted to present expert testimony from two treating physicians

regarding (1) the plaintiff’s diagnosis and (2) identification of the exact pesticide chemical the

plaintiff was exposed to occasioning the need for medical treatment. Id. at 426-428. The court

permitted the plaintiff’s experts to testify regarding the plaintiff’s diagnosis and treatment, but did

not allow the plaintiff’s experts to testify to the “exact chemical” the plaintiff had been exposed to

at the Marriott hotel because “nothing in Dr. DeJonge's or Dr. Natzke's medical expertise would

provide a basis to determine the exact chemical Plaintiffs were exposed to at the Marriott hotel.”

Id. at 428. Gase is inapposite here because the treatment and prognosis of stroke patients – based

on various treatment modalities and timeframes of treatment – is a matter directly within Dr.

Dhar’s clinical experience because he routinely manages stroke patients like Mr. Ruffino.

    III.      Dr. Dhar’s Standard of Care Opinions Should Not be Excluded as a Discovery
              Sanction.
           Defendant also seeks to exclude Dr. Dhar’s testimony on the standard of care issue as a

discovery sanction pursuant to Fed. R. Civ. P. 37(c)(1). This aspect of the Motion should also be

denied entirely, or alternatively, the Court should only permit Dr. Dhar to testify live at trial (rather

than by deposition).

           Dr. Dhar’s standard of care opinions were included in his Rule 26 Report:

 Deposition Standard of Care Opinion           Corresponding Rule 26 Report Language
 Dr. Archer should have ordered/considered     “It is my opinion that an acute stroke such as
 emergency reperfusion therapy (tPA) and       this should be triaged as an emergency and
 imaging for Mr. Ruffino’s stroke.             necessitates consideration of acute thrombolic
                                               and reperfusion therapies.
 Dr. Archer should have communicated the “Moreover, it is my opinion that the timing of
 time of onset of the stroke [at approximately symptom onset during the time period from
 12:00] to the neurologist Dr. Chitturi.       1220 to 1300 was not clearly communicated

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                                                     between healthcare providers, such that the
                                                     neurologist, Dr. Chitturi believes that the
                                                     focal neurological deficits (not just the
                                                     dizziness) had stated that morning and so Mr.
                                                     Ruffino may have been outside the window
                                                     for TPA.”

       If there is a shortcoming with Dr. Dhar’s Rule 26 Report, it is limited to Dr. Dhar not using

the specific words “standard of care” when describing what Dr. Archer should have done.

Comparing Dr. Dhar’s Rule 26 Report and his deposition, Dr. Dhar fairly disclosed the substance

of his opinions regarding what Dr. Archer should have done and why. The Defendant was fairly

apprised of Dr. Dhar’s opinions and had the opportunity to clarify (and did actually clarify) those

opinions during Dr. Dhar’s deposition.

       The Defendant argues that exclusion of Dr. Dhar’s standard of care opinions is required

because Defense Counsel was “surprised” at Dr. Dhar’s deposition by Dr. Dhar’s opinions, and

Dr. Dhar’s deposition “was recorded and may be used against Dr. Archer in the upcoming trial.”

Defense Counsel should not have been “surprised” that Dr. Dhar’s criticisms of the care Dr. Archer

provided were standard of care criticisms. Regardless, any “prejudice” that the Defendant claims

he will suffer if Dr. Dhar’s standard of care testimony is not excluded can be cured by a more

appropriate remedy: an order only permitting Dr. Dhar to testify live at trial (rather than through

his discovery deposition).

                                         CONCLUSION
       For the foregoing reasons, Defendant’s Motion should be denied.




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                                               RESPECTFULLY SUBMITTED,

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                                 CERTIFICATE OF SERVICE

        I certify that I served all parties in this matter through counsel of record listed below with
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